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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



  IN RE: AUTOMOTIVE                                 Master File No. 12-md-02311
  PARTS ANTITRUST                                   Honorable Marianne 0. Battani
  LITIGATION


  ALL PARTS



  THIS DOCUMENT RELATES TO:
  ALL CASES


                                 NOTICE OF APPEARANCE

         Pursuant to Eastern District of Michigan Local Rule 83.25, the Court's July 3, 2014,

  Electronic Case Management Protocol Order (MDL ECF No. 753) and Rule 2.1(c) of the MDL

  Judicial Panel’s Rules and Procedures, please enter the appearance of George W. Cochran, of the

  Law Office of George W. Cochran, as counsel for Class Members-Objectors Olen York, Amy

  York and Nancy York in the above-captioned matters. The appearance shall not be deemed to be

  a waiver of any rights or defenses that may be available under common law, statutes, or the

  Federal Rules of Civil Procedure.

                                      By: s/ George W. Cochran
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 6, 2016, I filed a copy of the foregoing with the Clerk of

  Courts using the Court's CM/ECF system, which will send electronic notice of such filing to

  counsel of record for all parties to the actions.


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